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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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                                                 Case No. 2:19-cv-10040-AB-MAAx
12    KENNETH OGIAMIEN,
13
                      Plaintiff,
                                                 ORDER DISMISSING CIVIL
14                                               ACTION
      v.
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      COUNTY OF LOS ANGELES, et al.,
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                      Defendant.
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           THE COURT having been advised by counsel that the above-entitled action has
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     been settled;
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           IT IS THEREFORE ORDERED that this action is hereby dismissed without
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     costs and without prejudice to the right, upon good cause shown within 45 days, to re-
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     open the action if settlement is not consummated. This Court retains full jurisdiction
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     over this action and this Order shall not prejudice any party to this action.
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26   Dated: October 2, 2020           _______________________________________
                                      ANDRÉ BIROTTE JR.
27                                    UNITED STATES DISTRICT JUDGE
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